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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          9   WAYMO LLC,                                                   No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                                                                                           ORDER RE
                               For the Northern District of California




                                                                         12   UBER TECHNOLOGIES, INC.;                                     COMMUNICATION FROM
                                                                         13   OTTOMOTTO LLC; and OTTO                                      ATTORNEY ESTHER CHANG
                                                                              TRUCKING LLC,
                                                                         14                  Defendants.
                                                                         15                                              /

                                                                         16          The Courtroom Deputy reports that Attorney Esther Chang, counsel for defendants,
                                                                         17   complained on a call with the Courtroom Deputy that plaintiff Waymo LLC had received email
                                                                         18   service of sealed Exhibit B to the “Notice and Order re Sealing of Letters from Office of the
                                                                         19   United States Attorney and Richard Jacobs” dated November 29 (Dkt. No. 2307-2) even though
                                                                         20   defendants had, she said, provided the unredacted Jacobs letter to the Court only for in camera
                                                                         21   review. If this was a motion of any type, it was improperly made. Communications like this
                                                                         22   should be made via motion, not via grumbling to the Courtroom Deputy.
                                                                         23          The Court has gone back to review the record and does not believe defense counsel
                                                                         24   made it clear, in producing the unredacted Jacobs letter to the Court, that they were asking the
                                                                         25   Court to withhold said letter from counsel for Waymo. If that was defense counsel’s intent,
                                                                         26   then they should have made it clear. If defendants wish for any further relief, they should
                                                                         27   immediately make a motion, keeping in mind the multitude of other burdens this action has
                                                                         28   imposed on the Court and the limited resources of the Court to deal with counsel’s grievances.
                                                                          1   This order in no way supersedes or suspends the December 13 deadline imposed by the
                                                                          2   November 29 order (see Dkt. No. 2307).
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                                                                          4          IT IS SO ORDERED.
                                                                          5
                                                                          6   Dated: December 11, 2017.
                                                                                                                                   WILLIAM ALSUP
                                                                          7                                                        UNITED STATES DISTRICT JUDGE
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United States District Court
                               For the Northern District of California




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